Case 3:24-cv-02311-TSH   Document 41-12   Filed 09/17/24   Page 1 of 2




                 EXHIBIT L
        Case 3:24-cv-02311-TSH                Document 41-12                Filed 09/17/24           Public
                                                                                                     Page 2Comment
                                                                                                            of 2   Item 6.2


From:              TAKAHASHI TORU (JALI SFOBOZ)
To:                Port of Oakland Board Commissioners
Cc:                Katayama Stephen (JALI WSTSSU); Lau Junnie_Wai_Fong (JALI SFOKKU); HONDA CHIKAHIRO (JALI SFOBOG)
Subject:           [EXTERNAL] RE: Proposed Name Change of Metropolitan Oakland International Airport to San Francisco Bay Area
                   Oakland International Airport
Date:              Friday, April 5, 2024 1:46:48 PM




       The sender of this message is external to the Port of Oakland. Do not open links or
       attachments from untrusted sources.  (Disclaimer posted by PortIT71394.)

Dear Oakland Board of Port Commissioners,

I am writing to you on behalf of Japan Airlines to express our concern regarding the proposed name
change of Metropolitan Oakland International Airport to San Francisco Bay Area Oakland International
Airport.

Japan Airlines has proudly connected passengers traveling between Japan, Asia, and the San
Francisco Bay Area for the last 70 years via San Francisco International Airport. We are deeply
concerned about the proposed name change of Metropolitan Oakland International Airport to San
Francisco Bay Area Oakland International Airport, as it may confuse our international travelers,
particularly those connecting to their flights. Therefore, we respectfully request the authorities to
reconsider this proposal to avoid inconveniencing our valuable passengers.

Thank you very much for your attention to this important matter.

Best regards,,
Toru Takahashi

----
Vice President
Western Region, U.S.A
JAPAN AIRLINES Co.,Ltd.
I-5-075B P.O.Box 280025 San Francisco Int'l Airport
San Francisco, CA 94128-0025
TEL 650-821-1227
